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                IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF PENNSYLVANIA


                                                    No. 2:20-cv-03326-AB
 IN RE: WIRECARD AG SECURITIES
 LITIGATION                                         CLASS ACTION




 THIS DOCUMENT RELATES TO:
 Brown v. Wirecard AG, No. 2:20-cv-03326-
 AB
 DalPoggetto v Wirecard AG, No. 2:20-cv-
 05017-TJS


                                            ORDER

       AND NOW, this 17th day of October 2020, it is ORDERED that Civil Action No.

2:20-cv-05017-TJS is consolidated with Civil Action No. 2:20-cv-03326-AB. Every pleading in

this action must have the caption In re Wirecard AG Securities Litigation, Civil Action No. 2:20-

cv-03326-AB. See ECF No. 31.


                                                      _S/Anita B. Brody ___
                                                      ANITA B. BRODY, J.



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